 Case 2:23-cv-11707-LJM-APP ECF No. 12, PageID.75 Filed 12/05/23 Page 1 of 2




                           UNITED STATES DISTRICT COURT
                           EASTERN DISTRICT OF MICHIGAN
                                SOUTHERN DIVISION

 AMY RYNTZ and ASHLEE SCHOEN,

         Plaintiff,                                   Case No. 23-11707
                                                      Honorable Laurie J. Michelson
 v.                                                   Magistrate Judge Anthony P. Patti

 WARREN CONSOLIDATED
 SCHOOLS,

         Defendant.


                                   SCHEDULING ORDER


       This civil case having come before the Court pursuant to Federal Rule of Civil
Procedure 16 and the parties having submitted a proposed discovery plan, the Court
enters the following schedule to manage the progress of the case:

                      EVENT1                                         DEADLINE
 Amendment of Pleadings                             Per Federal Rule of Civil Procedure 15
 Interim Status Conference2                         March 4, 2024, at 3 pm
 Lay Witness Lists Filed                            April 4, 2024
 Fact Discovery Completed By                        June 4, 2024
 Dispositive Motions Filed By                       July 8, 2024
 Joint Proposed Final Pretrial Order (and December 18, 2024
 pretrial submissions)
 Final Pretrial Conference                          January 3, 2025, at 11 am
 Jury Trial                                         January 10, 2025
 Estimated Length of Trial                          Two weeks


       1 For any events not listed on the Scheduling Order, please refer to Federal Rule of Civil
Procedure 26.
       2 To participate in the conference, dial into the Eastern District of Michigan’s telephone
conference system at (313) 261-7355. The system will then provide directions for joining the call; when
asked for a Conference ID, use 208 151 886. If possible, please refrain from participating in the
conference on a cell phone.
 Case 2:23-cv-11707-LJM-APP ECF No. 12, PageID.76 Filed 12/05/23 Page 2 of 2




     As this case progresses, the parties are to continually review this Court’s Case
Management Requirements found at ECF No. 3.

      SO ORDERED.

      Dated: December 5, 2023


                                       s/Laurie J. Michelson
                                       LAURIE J. MICHELSON
                                       UNITED STATES DISTRICT JUDGE




                                         2
